Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 1 of 6 PageIDFILED
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UNITED STATES DISTRICT COURT                                                   U.S. DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                              EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X                     LONG ISLAND OFFICE
UNITED STATES OF AMERICA,
                                                             MEMORANDUM
        -against-                                            OF DECISION AND
                                                                 ORDER

LOUIS FENZA,                                                  CR 03-0921 (ADS)

                           Defendant.
---------------------------------------------------------X


APPEARANCES:


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        Central Islip, NY 11722
        By:    Allen L. Bode,
               Assistant United States Attorney

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        PETRA DEHAAN
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        United States Probation Department
        202 Federal Plaza
        Central Islip, NY 11722


SPATT, District Judge.

        This Decision and Order is in response to a motion by the defendant Louis Fenza (the

“defendant” or “Fenza”), dated July 17, 2013, seeking early termination of the defendant’s term

of supervised release.
Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 2 of 6 PageID #: 1806




                I. BACKGROUND AND DEFENDANT’S CONTENTIONS

       On March 20, 2008, the defendant was found guilty by jury verdict in the United States

District Court, Eastern District of New York, of Racketeering and Conspiracy to Commit

Racketeering and Extortion.

       On March 27, 2009, the defendant was sentenced to eighteen (18) months, concurrent as

to each count, and placed on supervised release for a three-year period. The defendant

commenced his supervised release upon his discharge from custody on July 8, 2011. According

to the defendant, he has completed more than two years of his supervised release term. The

defendant now requests early termination of his three-year supervised release term, as set forth in

his motion and memorandum. The defendant advances the following reasons in support of this

application:

       1. Shortly herefrom, Mr. Fenza will have successfully completed two (2) of the
       three (3) years of Supervised Release without offense or violation.

       2. As the Court will recall, Mr. Fenza’s matter had an extensive Pre-Trial
       existence, due to the death of both his and his co-defendant’s initial attorneys. As
       a result, Mr. Fenza has been under some degree of Supervision for a period of ten
       (10) years. Further, Mr. Fenza has been designated a “low risk” individual within
       the Supervision program.

       3. It is respectfully submitted that an early termination of Mr. Fenza’s Supervised
       Release is in the interests of justice, and appropriate herein.

       4. During the pendency of Mr. Fenza’s nearly two (2) years on Supervised
       Release, he has had no negative incidents. Additionally, as of the date of this
       filing, the Restitution has been paid in full.

       5. Mr. Fenza’s conduct under Supervised Release, his punishment, and his
       personal characteristics merit early termination of Supervised Release.

       6. Since his release from incarceration and half-way house environments,
       Mr. Fenza has returned to the community to live with his family in the
       neighborhood and house where they have lived for decades.


                                                 2
Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 3 of 6 PageID #: 1807




        7. Mr. Fenza has regained the operational management of his car service
        company and has not only stabilized the business during his incarceration and the
        great recession of 2008, but has grown and developed it as a Long Island small
        business success story.

        8. Mr. Fenza utilizes the flexibility of business ownership in order to help care for
        his wife, who suffers from severe back and nerve injuries, as well as his
        grandchildren. During his incarceration, Mr. Fenza’s eldest daughter underwent a
        divorce, leaving her as a single working mother. Mr. Fenza and his wife help with
        babysitting as often as they can.

        9. Mr. Fenza is near the end of his required commitment, and personifies the
        transition from offender to productive member of society. Mr. Fenza was
        convicted of a very serious offense. He acknowledges the severity of the offense
        and was punished accordingly. Mr. Fenza respectfully urges the Court to view his
        transition since, including his Pre-Trial supervision. In calculating the total of his
        pre-trial, incarceration and post-release supervision, Mr. Fenza has been
        supervised by the Government for approximately ten (10) years without a single
        negative incident.

        10. Because of his transition as a productive member of society, his family
        obligations, his commitment to community, to allow even more flexibility so that
        he can focus on assisting the care of family, Mr. Fenza is an appropriate candidate
        for early termination of his Supervised Release.

        In response to this motion for early termination of the defendant’s supervised release, the

Government takes no position. However, the assigned probation officer opposes this request “as

there is nothing extraordinary that would warrant it at this time.”

                                          II. DISCUSSION

        The Court may terminate a term of supervised release and discharge a defendant “at any

time after the expiration of one year of supervised release . . . if it is satisfied that such action is

warranted by the conduct of the defendant released and the interest of justice.” 18 U.S.C.

§3583(e)(1); see United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997) (holding that pursuant

to section 3583(e), a district court may permit the early discharge of a defendant from supervised



                                                    3
Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 4 of 6 PageID #: 1808




release “in order to account for unforeseen circumstances”). Early discharge is appropriate to

“account for new or unforeseen circumstances” not contemplated at the initial imposition of

supervised release. See Lussier, 104 F.3d at 36. Changed circumstances that justify early

termination include a defendant’s exceptionally good behavior that makes the previously

imposed term of supervised release “either too harsh or inappropriately tailored to serve” general

punishment goals. Id. This determination is within the discretion of the district court. Id.

       When determining whether to grant such an application, the Court also must consider the

factors set forth in 18 U.S.C. §§3553. These factors were also weighed by the Court in

determining the initial sentence. See 18 U.S.C. §3583(1); Lussier, 104 F.3d at 36 (the court must

consider certain factors in section 3553(a) before ordering early termination of a term of

supervised release).

       After considering all the statutory factors, the Court finds that the defendant has failed to

present facts and circumstances that demonstrate the “exceptionally good behavior” or any other

viable reason for termination referred to in the precedents. Fenza has satisfied his conditions of

supervised release and apparently resumed his pre-incarceration life. All of these activities

participated in by the defendant are commendable but are expected of a person on supervised

release and do not constitute the “exceptional behavior” contemplated in the precedents.

       As stated in Lussier, early termination is not warranted as a matter of course; on the

contrary, it is only “occasionally” justified due to “changed circumstances” of a defendant, such

as “exceptionally good behavior.” Id. at 36. Therefore, Fenza is not entitled to early termination

simply because he has successfully served a portion of his supervised release and complied with

the conditions imposed. See e.g. United States v. Rusco, 2000 WL 45438, No. 88 CR 819


                                                 4
Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 5 of 6 PageID #: 1809




(S.D.N.Y. January 19, 2000). Full compliance with the terms of supervised release is what is

expected of a person under the magnifying glass of supervised release and does not warrant early

termination.

       A vivid example and a model of “exceptionally good behavior” was set forth in the case

of United States v. Spinelle, 835 F.Supp. 987 (E.D. Michigan 1993). The Court does not expect

any applicant for early termination, such as Fenza to emulate these activities. However, they are

a model of instruction as to “exceptional good behavior.” The defendant Spinelle made the most

of his period of supervised release, as follows:

               These commendable activities have continued since his release. In
               September 1992, he was hired by the Community Commission on
               Drug Abuse to serve as an apprentice Chemical Dependency
               Therapist/Counselor and Program Development and Evaluation
               Coordinator. *990 He has authored several state, federal and
               foundation grants for the Commission. These efforts have resulted
               in the Michigan Department of Corrections’ funding of a drug-
               counseling program for probationers. He also has developed and
               applied for the funding of a therapy program for chemically
               dependent federal probationers. He hopes to serve as one of the
               therapists of the substance-abuse program, should it receive
               funding.

               His studies also have continued since his release. He testified in
               court that since his release he has taken two courses at a local
               university. In addition, he has met the requirements and presently
               serves as a Eucharistic Minister for his church in Plymouth. He
               also recently completed a one-month course to become a prison
               minister and feels that his role as a prison minister will enable him
               to assist prisoners with planning for their lives upon release.

               His accomplishments have not gone unrecognized. In September
               1992, he was awarded a scholarship by the Michigan Department
               of Public Health to attend an intense five-day workshop by the
               Grantmanship Center on Program Planning and Proposal Writing.
               He recently was selected for a scholarship by the Michigan
               Department of Public Health’s Center for Substance Abuse


                                                   5
Case 2:03-cr-00921-ADS Document 229 Filed 08/02/13 Page 6 of 6 PageID #: 1810




               Services to attend the Summer Midwest Therapist Training
               Institute in Madison, Wisconsin. In addition, he now is licensed by
               the State of Michigan as a professional counselor.

       Also, the fact that Fenza had “an extensive pre-trial existence” and was “under some

degree of Supervision for a period of ten (10) years,” is not a reason to grant early termination.

A pre-trial delay of this kind is sometimes viewed as a mutual benefit, and, apparently, some of

the delay was requested by the defendant.

       The Court notes, with approval, the language of United States District Judge Robert

Sweet in United States v. Medina, 17. F. Supp. 2d 245 (S.D.N.Y. 1998).

               Termination of Medina’s supervised release is premature. While
               his post-incarceration conduct is apparently unblemished, this
               alone cannot be sufficient reason to terminate the supervised
               release since, if it were, the exception would swallow the rule.

       Accordingly, the application by Louis Fenza for early termination is denied.



       SO ORDERED.

Dated: Central Islip, New York
       August 2, 2013


                                                      /s/ARTHUR D. SPATT
                                                       ARTHUR D. SPATT
                                                     United States District Judge




                                                 6
